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                      Exhibit VII
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                                     Exhibit B
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   1                      UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO
   2
   3         WARNER RECORDS, INC., et al.,                  )
                                                            )
   4                         Plaintiffs,                    )
                                                            )
   5         vs.                                            ) No.
                                                            ) 1:19-cv-00874-RBJ
   6         CHARTER COMMUNICATIONS, INC.,                  )
                                                            )
   7                         Defendants.                    )
   8
   9           The remote videotaped deposition via ZOOM of
  10                                   KRISTOFER BUCHAN
  11                                      9:00 A.M. CST
  12                                   October 15, 2021
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   1       PRESENT via Zoom:
   2
                     OPPENHEIM & ZEBRAK LLP
   3                 COREY MILLER
                     ANDREW GUERRA
   4                 4530 Wisconsin Avenue NW
                     15th Floor
   5                 Washington, DC 20016
                     corey@oandzlaw.com
   6                      Appeared on behalf of Plaintiffs.
   7
                     QUINN EMANUEL URQUHART & SULLIVAN LLP
   8                 NATHAN M. HAMSTRA
                     JESSICA ROSE
   9                 191 North Wacker Drive
                     Suite 2700
  10                 Chicago, Illinois 60606
                     (312) 605-7400
  11                 nathanhamstra@quinnemanuel.com
                          Appeared on behalf of Defendants.
  12
                     WINSTON & STRAWN
  13                 MICHAEL J. BRODY
                     35 West Wacker Drive
  14                 Chicago , Illinois 60606
                     (312) 558-6385
  15                 mbrody@winston.com
                          Appeared on behalf of Defendants.
  16
  17
  18       ALSO PRESENT:
  19             CHRIS BENNETT, Bates White LLC
  20
  21
  22       VIDEOGRAPHER:  MICHAEL PRAGER
  23       STENOGRAPHICALLY REPORTED BY:
           JO ANN LOSOYA, CSR, RPR, CRR
  24       LICENSE #:  084-002437
  25

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   1                                      EXAMINATION
   2       Witness                                               Page       Line
   3       KRISTOFER BUCHAN
   4         By Mr. Hamstra                                          6         6
   5                                   ***************
   6                                 INDEX OF EXHIBITS
   7       EXHIBIT                      DESCRIPTION                         PAGE
   8      Exhibit 1       Opening Report                                            8
   9      Exhibit 2       Supplemental Report                                       8
  10      Exhibit 3       Rebuttal report                                           8
  11      Exhibit 4       Documents considered list                                21
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  14      Exhibit 6       Report exhibits 5A-5C                                    67
  15      Exhibit 7       Report Exhibit 4A and 4B                                 82
  16      Exhibit 8       Report Exhibit 8, 8A-8D                                  83
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  20      Exhibit 11 Spreadsheet responses                                     117
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  23
  24       *Exhibit 12 marked in error (Duplicate of EX11)*
           *Exhibit 14 marked in error (Duplicate of EX13)*
  25

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   1                      THE VIDEOGRAPHER:            Good morning.      We are
   2       going on the record at 9:06 a.m. on October 15,
   3       2021.
   4                            Please note that the microphones are
   5       sensitive and may pick up whispering, private
   6       conversations, and cellular interference.                   Please
   7       turn off all cell phones or place them away from the
   8       microphones as they can interfere with the
   9       deposition audio.
  10                            Audio and video recording will
  11       continue to take place unless all parties agree to
  12       go off the record.
  13                            This is Media Unit 1 of the
  14       video-recorded deposition of Kristofer Buchan taken
  15       by counsel for the defendant in the matter of Warner
  16       Records Inc., et al, versus Charter Communication,
  17       Inc., filed in the United States District Court for
  18       the District of Colorado, Case
  19       No. 19-cv-00874-RBJ-MEH.
  20                            This deposition is being held
  21       remotely.
  22                            My name is Michael Prager from the
  23       firm Veritext, and I'm the videographer.                   The court
  24       reporter is JoAnn Losoya from the firm Veritext.
  25                            I am not authorized to administer an

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   1       oath, I'm not related to any party in this action,
   2       nor am I financially interested in the outcome.
   3                            Counsel and all present in the room
   4       and everyone attending remotely will now state their
   5       appearances and affiliations for the record.                     If
   6       there are any objections to proceeding, please state
   7       them at the time of your appearance, beginning with
   8       the noticing attorney.
   9                      MR. HAMSTRA:         Nathan Hamstra, Quinn
  10       Emanuel, on behalf of Defendant Charter.                   With me is
  11       Michael Brody of Winston & Strawn as well as Chris
  12       Bennett, with the consultancy, Bates White.
  13                      MR. MILLER:        Corey Miller of Oppenheim &
  14       Zebrak for the plaintiffs.               Also here is Andrew
  15       Guerra of Oppenheim & Zebrak.
  16                      THE VIDEOGRAPHER:            Will the court
  17       reporter please swear in the witness.
  18                                   (Witness sworn at 9:08 a.m.)
  19                      THE VIDEOGRAPHER:            Please proceed.
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   1       number was 4,008 -- 4,018.               And the updated number
   2       is 4,023 compositions.
   3              Q.      Anything else, Mr. Buchan?
   4              A.      That is all.
   5              Q.      How did you discover or learn of that
   6       error -- or those errors?
   7              A.      I and my team were reviewing some of the
   8       exhibits and workpapers to the rebuttal report in
   9       preparation for my deposition, and I had noted what
  10       appeared to be a discrepancy in one of the
  11       workpapers.       And we took at look at that and
  12       realized that we were ignoring, like I said, the MD4
  13       and the SHA-1 Base32 hashes in identifying
  14       Works-in-Suit.
  15              Q.      And, Mr. Buchan, the paragraph you just
  16       provided corrections for cited to -- or cites to
  17       Rebuttal Exhibits 4A through 4B and Rebuttal
  18       Exhibit 9.
  19                            Were there any corrections made or
  20       required in those exhibits as well?
  21              A.      Correct.       That's how the numbers change
  22       is the associated workpapers -- and there are
  23       workpapers that feed into Exhibits 4A and 4B that
  24       would -- that's where the change comes from.
  25              Q.      Do you have a corrected version of

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   1       Rebuttal Exhibit 4A and 4B and Rebuttal Exhibit 9 as
   2       well?
   3               A.     I don't believe those have been prepared.
   4       I don't have those with me today.
   5               Q.     I'm going to start with some basics,
   6       Mr. Buchan.
   7                            You understand that this is a case
   8       relating to copyright infringement, correct?
   9               A.     Correct.
  10               Q.     Were you provided a legal understanding
  11       of what constitutes copyright infringement in
  12       connection with your work on this matter?
  13                      MR. MILLER:        Objection.
  14       BY THE WITNESS:
  15               A.     I don't know if I was provided with a
  16       legal understanding.           I'm not a lawyer.
  17               Q.     Are you offering an opinion that Charter
  18       subscribers have infringed any copyrights?
  19               A.     No, I'm not.
  20               Q.     So, you answered that no, you are not,
  21       but, Mr. Buchan, you do refer to some Charter
  22       subscribers as, for instance, repeat infringers,
  23       correct?
  24               A.     I do define the term repeat infringers in
  25       the work that I do.

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   1               Q.     But when you use the term "repeat
   2       infringers," you are not accusing the Charter
   3       subscribers you characterize as repeat infringers of
   4       copyright infringement?
   5                      MR. MILLER:       Objection.
   6       BY THE WITNESS:
   7               A.     I'm not accusing anybody of infringement,
   8       no.
   9               Q.     So, you mentioned you did define the term
  10       repeat infringers.         Can you point me to where you do
  11       that?
  12               A.     Sure.
  13                      THE VIDEOGRAPHER:           When you get a chance,
  14       can you angle your camera down a hair.                   We're losing
  15       you at the bottom of the frame.
  16       BY THE WITNESS:
  17               A.     So in my first report, if you go the
  18       Page 16, there's a bullet at the bottom of Page 16
  19       that is titled Repeat Infringers.                   And I can read
  20       that definition if you'd like.
  21               Q.     I'm with you.         That's not necessary.
  22       Thank you, Mr. Buchan.
  23                           So you are -- you aren't opining that
  24       Charter subscribers committed any particular act of
  25       copyright infringement, correct?

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    1                      MR. MILLER:        Objection.
    2       BY THE WITNESS:
    3              A.      Correct.
    4              Q.      Your definition of repeat infringer is
    5       not someone that has repeatedly infringed a
    6       copyright, correct?
    7                      MR. MILLER:        Objection.
    8       BY THE WITNESS:
    9              A.      Well, I wouldn't know.                That's ultimately
  10        up to the trier of fact to determine.
  11               Q.      Let me ask you then, are you accusing
  12        Charter subscribers of repeatedly infringing a
  13        copyright?
  14                       MR. MILLER:        Objection.
  15        BY THE WITNESS:
  16               A.      No.
  17               Q.      Do you have an understanding of what the
  18        Charter subscribers did that plaintiffs claim
  19        constitutes copyright infringement?
  20                       MR. MILLER:        Objection.
  21        BY THE WITNESS:
  22               A.      I have a general understanding as a data
  23        scientist and statistician.
  24               Q.      What is that understanding?
  25               A.      I can go through -- I outline the

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    1       allegations in the complaint.                 Those are what I
    2       understand to be alleged.
    3              Q.      And were you referring to the discussion
    4       at, at least, Paragraphs 31 through 37 of your
    5       opening report?
    6              A.      Part of it is certainly discussed there,
    7       yes.
    8              Q.      Do you have an understanding of whether
    9       MarkMonitor detected copyright infringement before
  10        sending a notice to Charter of infringement?
  11                       MR. MILLER:        Objection.
  12        BY THE WITNESS:
  13               A.      I have no opinion on that.
  14               Q.      Are you familiar with what it means for
  15        MarkMonitor to handshake with a Charter subscriber?
  16                       MR. MILLER:        Objection.
  17        BY THE WITNESS:
  18               A.      I have certainly seen reference to a
  19        handshake.      I know it from a laymen's term.                 But I'm
  20        not an expert on crypto or handshakes and that sort
  21        of thing.
  22               Q.      Do you know whether MarkMonitor
  23        downloaded any content from a Charter subscriber
  24        before sending an infringement notice directed
  25        towards that subscriber?

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    1                      MR. MILLER:        Objection.
    2       BY THE WITNESS:
    3              A.      I have no opinion on that.
    4              Q.      Paragraph 33 of Exhibit 1 includes a
    5       reference to alleged infringing activity of
    6       Charter's customers for which Charter is allegedly
    7       secondarily liable.
    8                            Do you see that?
    9              A.      I do.
  10               Q.      Do you have an understanding of how
  11        legally Charter could be liable for its subscribers'
  12        infringement?
  13                       MR. MILLER:        Objection, calls for a legal
  14        conclusion.
  15        BY THE WITNESS:
  16               A.      I have a -- the only understanding I have
  17        is as a data scientist and statistician economist,
  18        not as a lawyer.
  19               Q.      What is your understanding as a data
  20        scientist and statistician?
  21               A.      Essentially what's alleged in the
  22        complaint so -- I guess, maybe -- repeat the
  23        question.      I'm not sure I understand what you are
  24        asking.
  25               Q.      I think you answered the question.                 Thank

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    1       BY THE WITNESS:
    2              A.      I have no opinion on what is one act of
    3       infringement.        That's up to the trier of fact to
    4       determine.
    5              Q.      You don't know whether MarkMonitor
    6       observes a Charter subscriber creating a copy of a
    7       Work-in-Suit before sending a notice, correct?
    8                      MR. MILLER:        Objection.
    9       BY THE WITNESS:
  10               A.      I don't recall sitting here today whether
  11        or not MarkMonitor is preserving copies being made
  12        or what that even means, so I don't have an opinion
  13        on that right now.
  14               Q.      Turn Paragraph 6 of your rebuttal report.
  15               A.      Okay.
  16               Q.      Paragraph 6 repeats a number of
  17        statements of Dr. Snow, and then in your Paragraph 7
  18        you state, "Dr. Snow offers no basis or explantation
  19        as to the relevance for his analysis of focusing on
  20        the actions of the majority of Charter subscribers."
  21                             Do you see that?
  22               A.      I do.
  23               Q.      Is it your opinion that the actions of a
  24        majority of Charter subscribers is irrelevant?
  25                       MR. MILLER:        Objection.

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    1       BY THE WITNESS:
    2              A.      I don't have an opinion on that one way
    3       or the other.         I was just responding to Dr. Snow's
    4       apparent focus on what the majority of a group of
    5       individuals do, instead of repeat infringers.
    6              Q.      Paragraphs 8, 9, 10, 11 of your rebuttal
    7       report all contain statements about infringements by
    8       subscribers.
    9                             Is it the case that I should view all
  10        your statements of infringement by Charter
  11        subscribers as referring to alleged infringements?
  12                       MR. MILLER:        Objection.
  13        BY THE WITNESS:
  14               A.      Yes.     Clearly -- sorry.
  15                              Yes.    Clearly I'm not rendering an
  16        opinion as to what constitutes infringement.                     That's
  17        ultimately up to the trier of fact.
  18               Q.      The infringement here is being alleged
  19        through the MarkMonitor RIAA notice, correct?
  20                       MR. MILLER:        Objection.
  21        BY THE WITNESS:
  22               A.      Certainly one way that Charter was
  23        notified of the alleged infringement.                  I don't think
  24        it's exclusive.
  25               Q.      Are you aware of other ways that Charter

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    1       was notified of alleged infringement of the
    2       Works-in-Suit, let's say, prior to filing of this
    3       complaint?
    4                      MR. MILLER:        Objection.
    5       BY THE WITNESS:
    6              A.      I don't really have an opinion on that.
    7       I don't recall as I sit here today, but I don't have
    8       an opinion on the breadth or scope of the
    9       notifications that RIAA and MarkMonitor provided to
  10        various ISPs.
  11               Q.      Turn to Paragraph 15 of your rebuttal
  12        report.
  13               A.      Okay.




  19                             Sorry.      That was not the last but the
  20        second-to-last sentence.
  21                             Do you see that sentence regardless?
  22               A.      I do.
  23               Q.      Did you use the date of the alleged
  24        infringement or the date of the notice itself to
  25        determine whether, as you say here, the dates are

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    1       opinions.       So I did not independently check the
    2       accuracy of Audible Magic's logs.
    3               Q.      Mr. Buchan, anything you want to change
    4       or correct about your testimony today?
    5               A.      Not that I can think of.
    6                       MR. HAMSTRA:         I have no further
    7       questions.
    8                            Mr. Miller?
    9                       MR. MILLER:         No questions from
  10        plaintiffs.
  11                        THE VIDEOGRAPHER:             We are off the record
  12        at 3:00 p.m. and this concludes today's testimony
  13        given by Kristofer Buchan.
  14                             The total number of media units used
  15        was 8 and will be retained by Veritext.
  16                             (Off the record at 3:00 p.m. CST)
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    1                            REPORTER CERTIFICATION
    2
    3
    4                      I, JO ANN LOSOYA, a Certified Shorthand
    5       Reporter of the State of Illinois, do hereby certify
    6       that I reported in shorthand the proceedings had at
    7       the deposition aforesaid, and that the foregoing is
    8       a true, complete and correct transcript of the
    9       proceedings of said deposition as appears from my
  10        stenographic notes so taken and transcribed under my
  11        personal direction.
  12                       IN WITNESS WHEREOF, I do hereunto set my
  13        hand at Chicago, Illinois, this October 19, 2021.
  14
  15
  16                       <%2166,Signature%>
                           JO ANN LOSOYA, CSR, RPR, CRR
  17                       C.S.R. No. 084-002437
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